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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES – GENERAL

 Case No. 2:25-cv-03502-HDV-KES                                     Date May 20, 2025
 Title Vihan Jagasia et al v. Kristi Noem et al.

 Present: The Honorable          Hernán D. Vera, United States District Judge

               Wendy Hernandez                                       Not Reported
                Deputy Clerk                                         Court Reporter

   Attorney(s) Present for Plaintiff(s):               Attorney(s) Present for Defendant(s):
                 Not Present                                           Not Present

 Proceedings: IN CHAMBERS—ORDER SETTING BRIEFING SCHEDULE


        Having reviewed Plaintiffs’ First Amended Complaint, [Dkt. No. 27], the Court orders
that:

        •   Plaintiffs shall file any request for injunctive relief by June 3, 2025. Defendants shall
            take no action, prior to the Court’s ruling on the Application, that impairs the ability
            to afford Plaintiffs complete relief (e.g. deportation).
        •   Defendants shall file their Opposition by June 17, 2025.
        •   The Court shall hear oral argument on the requested relief on June 23, 2025 at 1:30
            p.m.

IT IS SO ORDERED.




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